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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION,
                                                            Civil No. 1:17-CV-04179-DLC
        Plaintiff,
                                                           Honorable Judge Denise L. Cote
                                                           Magistrate Judge Ronald L. Ellis
 v.
                                                            MOTION FOR ADMISSION
 ALPINE SECURITIES CORPORATION,
                                                                PRO HAC VICE
        Defendant.


       Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the

Southern District of New York, I, Jonathan D. Bletzacker, move this Court for an Order for

Admission to Practice Pro Hac Vice to appear as counsel for Defendant Alpine Securities

Corporation in the above-captioned matter.

       I am a member in good standing of the bar of the State of Utah and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of

a felony, never been censured, suspended, disbarred, or denied admission or readmission by any

state or federal court. A Declaration in Support of Motion for Admission Pro Hac Vice,

Certificate of Good Standing, and proposed Order are attached hereto.

       DATED this 10th day of August 2017.

                                             /s/ Jonathan D. Bletzacker
                                             Jonathan D. Bletzacker (Pro Hac Vice Pending)
                                             CLYDE SNOW & SESSIONS
                                             One Utah Center, 13th Floor
                                             201 South Main Street
                                             Salt Lake City, Utah 84111-2216
                                             Telephone 801.322.2516
                                             Facsimile 801.521.6280
                                             Email: jdb@clydesnow.com
                                             Counsel for Alpine Securities Corporation
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                                            Exhibits


Exhibit A:   Declaration in Support of Motion for Admission Pro Hac Vice

Exhibit B:   Certificate of Good Standing

Exhibit C:   [Proposed] Order for Admission Pro Hac Vice




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